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 7
                            UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10
     ROSA NAVAS, an individual; ALFREDO              CASE NO. CV15-09515 DDP (JCx)
11   NAVAS, an individual; A.N., a minor,            Hon. Dean D. Pregerson – Ctrm.3, 2nd Fl
                                                     Hon. Mag Judge Jacqueline Chooljian – Ctrm. 20, 3rd Fl
12   individually and as successor in interest to
     Sergio Navas and by and throug his
13   mother and Next Friend Christel Emmet;          ANSWER OF DEFENDANT CITY
14   J.N., a minor, individually and as successor    OF    LOS    ANGELES   TO
     in interest to Sergio Navas and by and          PLAINTIFFS’ COMPLAINT FOR
15   throug his mother and Next Friend               DAMAGES
     Chistel Emmet; A.N., a minor,
16   individually and as successor in interest to
17   Sergio Navas and by and through her
     mother and Next Friend Christel Emmet,
18
                  Plaintiffs,
19         vs.
20
     CITY OF LOS ANGELES, a municipality;
21   BRIAN VAN GORDON, an individual;
     and DOES 1 through 10, inclusive,
22
                  Defendants.
23
24
25         DEFENDANT CITY OF LOS ANGELES, answering the Plaintiff’s Complaint
26   for itself and for no other parties, hereby admits, denies and alleges as follows:
27   ///
28
                                                 1
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 1                                       “INTRODUCTION”
 2         1.     Answering this paragraph, Defendant lacks sufficient information and
 3   belief upon which to answer the allegations contained therein, and on that basis denies
 4   the allegations.
 5
 6                                           “PARTIES”
 7         2.     Answering this paragraph, Defendant lacks sufficient information and
 8   belief upon which to answer the allegations contained therein, and on that basis denies
 9   the allegations.
10         3.     Answering this paragraph, Defendant lacks sufficient information and
11   belief upon which to answer the allegations contained therein, and on that basis denies
12   the allegations.
13         4.     Answering this paragraph, Defendant lacks sufficient information and
14   belief upon which to answer the allegations contained therein, and on that basis denies
15   the allegations.
16         5.     Answering this paragraph, Defendant lacks sufficient information and
17   belief upon which to answer the allegations contained therein, and on that basis denies
18   the allegations.
19         6.     Answering this paragraph, Defendant lacks sufficient information and
20   belief upon which to answer the allegations contained therein, and on that basis denies
21   the allegations.
22         7.     Answering this paragraph, Defendant lacks sufficient information and
23   belief upon which to answer the allegations contained therein, and on that basis denies
24   the allegations.
25         8.     Answering this paragraph, Defendants admit that the City of Los Angeles
26   is a municipal corporation in the State of California and that it employed an Officer Van
27   Gordon. As to the remaining allegations, Defendant lacks sufficient information and
28   belief upon which to answer those allegations, and on that basis denies the allegations.
                                                2
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 1         9.       Answering this paragraph, Defendants admit that the City of Los Angeles
 2   that it employed an Officer Van Gordon as a police officer in the Los Angeles Police
 3   Department. As to the remaining allegations, Defendant lacks sufficient information
 4   and belief upon which to answer those allegations, and on that basis denies the
 5   allegations.
 6         10.      Answering this paragraph, Defendant lacks sufficient information and
 7   belief upon which to answer the allegations contained therein, and on that basis denies
 8   the allegations.
 9         11.      Answering this paragraph, Defendant lacks sufficient information and
10   belief upon which to answer the allegations contained therein, and on that basis denies
11   the allegations.
12         12.      Answering this paragraph, Defendant lacks sufficient information and
13   belief upon which to answer the allegations contained therein, and on that basis denies
14   the allegations.
15         13.      Answering this paragraph, Defendant lacks sufficient information and
16   belief upon which to answer the allegations contained therein, and on that basis denies
17   the allegations.
18         14.      Answering this paragraph, Defendant lacks sufficient information and
19   belief upon which to answer the allegations contained therein, and on that basis denies
20   the allegations.
21         15.      Answering this paragraph, Defendant lacks sufficient information and
22   belief upon which to answer the allegations contained therein, and on that basis denies
23   the allegations.
24         16.      Answering this paragraph, Defendant lacks sufficient information and
25   belief upon which to answer the allegations contained therein, and on that basis denies
26   the allegations.
27   ///
28   ///
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 1                                   “JURISDICTION AND VENUE”
 2         17.     Answering this paragraph, Defendants admit that this Court properly has
 3   jurisdiction over this matter. As to the remaining allegations, Defendant lacks sufficient
 4   information and belief upon which to answer the allegations contained therein, and on
 5   that basis denies the allegations.
 6         18.     Answering this paragraph, Defendants admit that this is the proper venue
 7   for this matter.
 8
 9               “FACTS COMMON TO ALL CLAIMS FOR RELIEF”
10         19.     Answering this paragraph, which incorporates by reference the allegations
11   of paragraphs 1 through 18 of the pleading, Defendant to the same extent incorporates
12   by reference the answers provided herein to those paragraphs.
13         20.     Answering this paragraph, Defendant lacks sufficient information and
14   belief upon which to answer the allegations contained therein, and on that basis denies
15   the allegations.
16         21.     Answering this paragraph, Defendant lacks sufficient information and
17   belief upon which to answer the allegations contained therein, and on that basis denies
18   the allegations.
19         22.     Answering this paragraph, Defendant lacks sufficient information and
20   belief upon which to answer the allegations contained therein, and on that basis denies
21   the allegations.
22         23.     Answering this paragraph, Defendant lacks sufficient information and
23   belief upon which to answer the allegations contained therein, and on that basis denies
24   the allegations.
25         24.     Answering this paragraph, Defendant lacks sufficient information and
26   belief upon which to answer the allegations contained therein, and on that basis denies
27   the allegations.
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 1         25.    Answering this paragraph, Defendant lacks sufficient information and
 2   belief upon which to answer the allegations contained therein, and on that basis denies
 3   the allegations.
 4
 5                              “FIRST CLAIM FOR RELIEF
 6                  Fourth Amendment Unreasonable Search and Seizure
 7                         Detention and Arrest (42 U.S.C. § 1983)
 8                       (against VAN GORDON AND DOES 1-10)
 9         26.    Answering this paragraph, which incorporates by reference the allegations
10   of paragraphs 1 through 25 of the pleading, Defendant to the same extent incorporates
11   by reference the answers provided herein to those paragraphs.
12         27.    Answering this paragraph, Defendant lacks sufficient information and
13   belief upon which to answer the allegations contained therein, and on that basis denies
14   the allegations.
15         28.    Answering this paragraph, Defendant lacks sufficient information and
16   belief upon which to answer the allegations contained therein, and on that basis denies
17   the allegations.
18         29.    Answering this paragraph, Defendant lacks sufficient information and
19   belief upon which to answer the allegations contained therein, and on that basis denies
20   the allegations.
21         30.    Answering this paragraph, Defendant lacks sufficient information and
22   belief upon which to answer the allegations contained therein, and on that basis denies
23   the allegations.
24         31.    Answering this paragraph, Defendant lacks sufficient information and
25   belief upon which to answer the allegations contained therein, and on that basis denies
26   the allegations.
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 1         32.     Answering this paragraph, Defendant lacks sufficient information and
 2   belief upon which to answer the allegations contained therein, and on that basis denies
 3   the allegations.
 4         33.     Answering this paragraph, Defendant lacks sufficient information and
 5   belief upon which to answer the allegations contained therein, and on that basis denies
 6   the allegations.
 7         34.     Answering this paragraph, Defendant lacks sufficient information and
 8   belief upon which to answer the allegations contained therein, and on that basis denies
 9   the allegations.
10
11                            “SECOND CLAIM FOR RELIEF”
12                  Fourth Amendment Unreasonable Search and Seizure
13                             Excessive Force (42 U.S.C. § 1983)
14                        (against VAN GORDON AND DOES 1-10)
15         35.     Answering this paragraph, which incorporates by reference the allegations
16   of paragraphs 1 through 34 of the pleading, Defendant to the same extent incorporates
17   by reference the answers provided herein to those paragraphs.
18         36.     As this paragraphs does not contain any factual allegations, it goes
19   unanswered.
20         37.     Answering this paragraph, Defendant lacks sufficient information and
21   belief upon which to answer the allegations contained therein, and on that basis denies
22   the allegations.
23         38.     Answering this paragraph, Defendant lacks sufficient information and
24   belief upon which to answer the allegations contained therein, and on that basis denies
25   the allegations.
26         39.     Answering this paragraph, Defendant lacks sufficient information and
27   belief upon which to answer the allegations contained therein, and on that basis denies
28   the allegations.
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 1         40.     Answering this paragraph, Defendant lacks sufficient information and
 2   belief upon which to answer the allegations contained therein, and on that basis denies
 3   the allegations.
 4         41.     Answering this paragraph, Defendant lacks sufficient information and
 5   belief upon which to answer the allegations contained therein, and on that basis denies
 6   the allegations.
 7         42.     Answering this paragraph, Defendant lacks sufficient information and
 8   belief upon which to answer the allegations contained therein, and on that basis denies
 9   the allegations.
10         43.     Answering this paragraph, Defendant lacks sufficient information and
11   belief upon which to answer the allegations contained therein, and on that basis denies
12   the allegations.
13                             “THIRD CLAIM FOR RELIEF”
14                        Substantive Due Process (42 U.S.C. § 1983)
15                         (against VAN GORDON and DOES 1-10)
16         44.     Answering this paragraph, which incorporates by reference the allegations
17   of paragraphs 1 through 43 of the pleading, Defendant to the same extent incorporates
18   by reference the answers provided herein to those paragraphs.
19         45.     As this paragraphs does not contain any factual allegations, it goes
20   unanswered.
21         46.     As this paragraphs does not contain any factual allegations, it goes
22   unanswered.
23         47.     Answering this paragraph, Defendant lacks sufficient information and
24   belief upon which to answer the allegations contained therein, and on that basis denies
25   the allegations.
26         48.     Answering this paragraph, Defendant lacks sufficient information and
27   belief upon which to answer the allegations contained therein, and on that basis denies
28   the allegations.
                                                7
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 1         49.    Answering this paragraph, Defendant lacks sufficient information and
 2   belief upon which to answer the allegations contained therein, and on that basis denies
 3   the allegations.
 4         50.    Answering this paragraph, Defendant lacks sufficient information and
 5   belief upon which to answer the allegations contained therein, and on that basis denies
 6   the allegations.
 7         51.    Answering this paragraph, Defendant lacks sufficient information and
 8   belief upon which to answer the allegations contained therein, and on that basis denies
 9   the allegations.
10         52.    Answering this paragraph, Defendant lacks sufficient information and
11   belief upon which to answer the allegations contained therein, and on that basis denies
12   the allegations.
13
14                             “FOURTH CLAIM FOR RELIEF
15                Municipal Liability for Unconstitutional Custom or Policy
16                                      (42 U.S.C. § 1983)
17                      (against Defendant CITY of LOS ANGELES)”
18         53.    Answering this paragraph, which incorporates by reference the allegations
19   of paragraphs 1 through 52 of the pleading, Defendant to the same extent incorporates
20   by reference the answers provided herein to those paragraphs.
21         54.    Answering this paragraph, Defendant lacks sufficient information and
22   belief upon which to answer the allegations contained therein, and on that basis denies
23   the allegations.
24         55.    Answering this paragraph and each of its subparts, Defendant lacks
25   sufficient information and belief upon which to answer the allegations contained therein,
26   and on that basis denies the allegations.
27
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 1         56.    Answering this paragraph, Defendant lacks sufficient information and
 2   belief upon which to answer the allegations contained therein, and on that basis denies
 3   the allegations.
 4         57.    Answering this paragraph, Defendant lacks sufficient information and
 5   belief upon which to answer the allegations contained therein, and on that basis denies
 6   the allegations.
 7         58.    Answering this paragraph, Defendant lacks sufficient information and
 8   belief upon which to answer the allegations contained therein, and on that basis denies
 9   the allegations.
10         59.    Answering this paragraph, Defendant lacks sufficient information and
11   belief upon which to answer the allegations contained therein, and on that basis denies
12   the allegations.
13         60.    Answering this paragraph, Defendant lacks sufficient information and
14   belief upon which to answer the allegations contained therein, and on that basis denies
15   the allegations.
16         61.    Answering this paragraph, Defendant lacks sufficient information and
17   belief upon which to answer the allegations contained therein, and on that basis denies
18   the allegations.
19         62.    Answering this paragraph, Defendant lacks sufficient information and
20   belief upon which to answer the allegations contained therein, and on that basis denies
21   the allegations.
22         63.    Answering this paragraph, Defendant lacks sufficient information and
23   belief upon which to answer the allegations contained therein, and on that basis denies
24   the allegations.
25         64.    Answering this paragraph, Defendant lacks sufficient information and
26   belief upon which to answer the allegations contained therein, and on that basis denies
27   the allegations.
28
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 1         65.    Answering this paragraph, Defendant lacks sufficient information and
 2   belief upon which to answer the allegations contained therein, and on that basis denies
 3   the allegations.
 4         66.    Answering this paragraph, Defendant lacks sufficient information and
 5   belief upon which to answer the allegations contained therein, and on that basis denies
 6   the allegations.
 7
 8                             “FIFTH CLAIM FOR RELIEF
 9               Battery (Cal. Govt. Code §820 and California Common Law)
10                                     (Wrongful Death)
11                                 (against all Defendants)
12         67.    Answering this paragraph, which incorporates by reference the allegations
13   of paragraphs 1 through 66 of the pleading, Defendant to the same extent incorporates
14   by reference the answers provided herein to those paragraphs.
15         68.    Answering this paragraph, Defendant lacks sufficient information and
16   belief upon which to answer the allegations contained therein, and on that basis denies
17   the allegations.
18         69.    Answering this paragraph, Defendant lacks sufficient information and
19   belief upon which to answer the allegations contained therein, and on that basis denies
20   the allegations.
21         70.    Answering this paragraph, Defendant lacks sufficient information and
22   belief upon which to answer the allegations contained therein, and on that basis denies
23   the allegations.
24   ///
25   ///
26   ///
27   ///
28   ///
                                               10
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 1                               SIXTH CLAIM FOR RELIEF
 2            Negligence (Cal. Govt. Code §820 and California Common Law)
 3                                      (Wrongful Death)
 4                                   (against all Defendants)
 5         71.     Answering this paragraph, which incorporates by reference the allegations
 6   of paragraphs 1 through 70 of the pleading, Defendant to the same extent incorporates
 7   by reference the answers provided herein to those paragraphs.
 8         72.     Answering this paragraph and each of its subparts, Defendant lacks
 9   sufficient information and belief upon which to answer the allegations contained therein,
10   and on that basis denies the allegations.
11         73.     Answering this paragraph, Defendant lacks sufficient information and
12   belief upon which to answer the allegations contained therein, and on that basis denies
13   the allegations.
14         74.     Answering this paragraph, Defendant lacks sufficient information and
15   belief upon which to answer the allegations contained therein, and on that basis denies
16   the allegations.
17         75.     Answering this paragraph, Defendant lacks sufficient information and
18   belief upon which to answer the allegations contained therein, and on that basis denies
19   the allegations.
20
21                             SEVENTH CLAIM FOR RELIEF
22               Violation of Cal. Civ. Code §52.1 and California Common Law)
23                                       (all Defendants)
24
25         76.     Answering this paragraph, which incorporates by reference the allegations
26   of paragraphs 1 through 77 [sic] of the pleading, Defendant to the same extent
27   incorporates by reference the answers provided herein to those paragraphs.
28   ///
                                                 11
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 1         77.     As this paragraph does not contain any factual allegations, it goes
 2   unanswered.
 3         78.     Answering this paragraph, Defendant lacks sufficient information and
 4   belief upon which to answer the allegations contained therein, and on that basis denies
 5   the allegations.
 6         79.     Answering this paragraph, Defendant lacks sufficient information and
 7   belief upon which to answer the allegations contained therein, and on that basis denies
 8   the allegations.
 9         80.     Answering this paragraph, Defendant lacks sufficient information and
10   belief upon which to answer the allegations contained therein, and on that basis denies
11   the allegations.
12         81.     Answering this paragraph, Defendant lacks sufficient information and
13   belief upon which to answer the allegations contained therein, and on that basis denies
14   the allegations.
15         82.     Answering this paragraph, Defendant lacks sufficient information and
16   belief upon which to answer the allegations contained therein, and on that basis denies
17   the allegations.
18         83.     Answering this paragraph, Defendant lacks sufficient information and
19   belief upon which to answer the allegations contained therein, and on that basis denies
20   the allegations.
21
22                              AFFIRMATIVE DEFENSES
23         As separate and distinct affirmative defenses, Defendant alleges each of the
24   following:
25   ///
26   ///
27   ///
28
                                               12
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 1               FIRST AFFIRMATIVE DEFENSE TO THE COMPLAINT
 2              AND EACH PURPORTED CAUSE OF ACTION THEREIN
 3                             (Failure To State A Cause of Action)
 4         1.       Defendant alleges that the complaint on file in this action, nor any of the
 5   alleged causes of action therein, state facts sufficient to constitute a cause of action on
 6   which relief can be granted against Defendant.
 7
 8              SECOND AFFIRMATIVE DEFENSE TO THE COMPLAINT
 9              AND EACH PURPORTED CAUSE OF ACTION THEREIN
10                                (Qualified Immunity - Federal)
11         2.       Defendant is protected from liability under the doctrine of qualified
12   immunity because the alleged conduct of Defendant’s employees did not violate clearly
13   established statutory or constitutional rights of which a reasonable person would have
14   known.
15
16              THIRD AFFIRMATIVE DEFENSE TO THE COMPLAINT
17              AND EACH PURPORTED CAUSE OF ACTION THEREIN
18                                (Qualified Immunities - State)
19         3.       Defendant is immune from liability pursuant to the provisions of each of
20   the following California statutes, each of which is set forth as a separate and distinct
21   affirmative defense: California Government Code §§ 815.2, 815.6, 818, 818.8, 820.2,
22   820.4, 820.8, 822.2, 835a, 845, 845.6, 845.8, 846, 850.8, 855.6, and 856.4.
23
24              FOURTH AFFIRMATIVE DEFENSE TO THE COMPLAINT
25              AND EACH PURPORTED CAUSE OF ACTION THEREIN
26                                    (Statute of Limitations)
27         4.       Some or all of Plaintiffs’ claims may be barred by the Statute of
28   Limitations.
                                                 13
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 1               FIFTH AFFIRMATIVE DEFENSE TO THE COMPLAINT
 2               AND EACH PURPORTED CAUSE OF ACTION THEREIN
 3                  (Failure to Comply With California Tort Claims Act,
 4                              Government Code § 910 et seq)
 5         5.     Some or all of the state claims are barred for Plaintiffs’ failure to comply
 6   with the provisions of the California Tort Claims Act, Government Code §§ 910 et seq.
 7
 8               SIXTH AFFIRMATIVE DEFENSE TO THE COMPLAINT
 9               AND EACH PURPORTED CAUSE OF ACTION THEREIN
10                          (Contributory Negligence By Plaintiff)
11         6.     Defendant alleges that the decedent, Sergio Navas, was negligent in that he
12   failed to use ordinary care, caution and prudence in and about the matters alleged in the
13   operative complaint and in each cause of action therein. The answering Defendant
14   further alleges that the damages alleged were directly and proximately caused and
15   contributed to by the negligence of the decedent and the extent of damages sustained, if
16   any, should be reduced in proportion to the amount of said negligence.
17
18              SEVENTH AFFIRMATIVE DEFENSE TO THE COMPLAINT
19               AND EACH PURPORTED CAUSE OF ACTION THEREIN
20                       (Contributory Negligence By Other Persons)
21         7.     Defendant alleges that the damages complained of by Plaintiffs, if any,
22   were either wholly or in part directly and proximately caused by the negligence or other
23   culpable conduct of other persons or entities other than the answering Defendant. The
24   damages alleged, if any, were directly and proximately caused and contributed to by the
25   negligence of other persons, and the extent of damages sustained, if any, should be
26   reduced in proportion to the amount of said negligence.
27   ///
28   ///
                                                14
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 1               EIGHTH AFFIRMATIVE DEFENSE TO THE COMPLAINT
 2               AND EACH PURPORTED CAUSE OF ACTION THEREIN
 3                                          (Self-Defense)
 4         8.      The force used against Plaintiffs, if any, was caused and necessitated by the
 5   actions of the decedent, Sergio Navas, and was reasonable and necessary for self-
 6   defense.
 7
 8              NINTH AFFIRMATIVE DEFENSE TO THE FIRST AMENDED
 9     COMPLAINT AND EACH PURPORTED CAUSE OF ACTION THEREIN
10                                      (Defense of Others)
11         9.      The force used against the decedent, Sergio Navas, if any, was caused and
12   necessitated by the actions of the decedent, Sergio Navas, and was reasonable and
13   necessary for the defense of others.
14
15         WHEREFORE, Defendant prays for judgment as follows:
16         1. That Plaintiff take nothing by this action;
17         2. That the action be dismissed;
18         3. That Defendant be awarded costs of suit;
19         4. That Defendant be awarded other and further relief as the Court may deem just
20              and proper, pursuant to California Code of Civil Procedure §1038.
21
     Dated: February 25, 2016         MICHAEL N. FEUER, City Attorney
22
                                      THOMAS H. PETERS, Chief Assistant City Attorney
23                                    CORY M. BRENTE, Assistant City Attorney
24
25                              By: __________/S/Colleen R. Smith __________________
26                                    COLLEEN R. SMITH, Deputy City Attorney
27                              Attorneys for Defendant CITY OF LOS ANGELES
28
                                                 15
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 1                               DEMAND FOR JURY TRIAL
 2
 3         Defendant hereby demands and requests a trial by jury in this matter.
 4
 5   Dated: February 25, 2016        MICHAEL N. FEUER, City Attorney
                                     THOMAS H. PETERS, Chief Assistant City Attorney
 6                                   CORY M. BRENTE, Assistant City Attorney
 7
 8                              By: __________/S/Colleen R. Smith __________________
 9                                    COLLEEN R. SMITH, Deputy City Attorney
                                Attorneys for Defendant CITY OF LOS ANGELES
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